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AO 245B (Rev 12/10) Criminal Judgment Sheet 1

                                          UNITED STATES DISTRICT COURT
                                                         District of New Mexico

                  UNITED STATES OF AMERICA                             Judgment in a Criminal Case
                             V.

                      JEROME ECKSTEIN                                  (For Offenses Committed On or After November 1, 1987)
                                                                       Case Number: 1:12CR03182-004JB
                                                                       USM Number: 69889-051
                                                                       Defense Attorney: Jason Bowles, Retained
THE DEFENDANT:

☒     pleaded guilty to count(s) SS40 of Indictment
☐     pleaded nolo contendere to count(s) which was accepted by the court.
☐     after a plea of not guilty was found guilty on count(s)

The defendant is adjudicated guilty of these offenses:

Title and Section                Nature of Offense                                            Offense Ended             Count Number(s)

18 U.S.C. Sec.                   Laundering of Monetary Instruments and Aiding and            12/12/2012                SS40
1956(a)(3)(B), 18 U.S.C.         Abetting
Sec. 2


The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

☐ The defendant has been found not guilty on count .
☒ Count s SS38 and 39 are dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.

                                                                    September 1, 2015
                                                                    Date of Imposition of Judgment


                                                                    /s/ James O. Browning
                                                                    Signature of Judge


                                                                    Honorable James O. Browning
                                                                    United States District Judge
                                                                    Name and Title of Judge

                                                                    February 4, 2016
                                                                    Date Signed
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AO 245B (Rev 12/10) Sheet 2 - Imprisonment                                                                            Judgment - Page 2 of 4



Defendant: JEROME ECKSTEIN
Case Number: 1:12CR03182-004JB

                                                        IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 15
months.

For the reasons stated on the record at the sentencing hearing held on September 1, 2015, the Court varies downward.

☐ The court makes the following recommendations to the Bureau of Prisons:




☐     The defendant is remanded to the custody of the United States Marshal.
☐     The defendant shall surrender to the United States Marshal for this district:
      ☐ at on
      ☐ as notified by the United States Marshal.
☒     The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
      ☐ before 2 p.m. on
      ☒ as notified by the United States Marshal.
      ☐ as notified by the Probation or Pretrial Services Office.

                                                               RETURN

I have executed this judgment as follows:




Defendant delivered on                                                                                         to
                                              at                                     with a Certified copy of this Judgment.




                                                                                  UNITED STATES MARSHAL

                                                                                  By
                                                                                  DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev 12/10) – Sheet 3                                                               Judgment - Page 3 of 4


Defendant: JEROME ECKSTEIN
Case Number: 1:12CR03182-004JB


                                 SPECIAL CONDITIONS OF SUPERVISION

The defendant must provide the probation officer access to any requested financial information, personal
income tax returns, authorization for release of credit information, and other business financial
information in which the defendant has a control or interest.

The defendant must have no contact with the co-defendant(s) / co-conspirator(s) in this case .

The defendant must not possess a firearm, ammunition, destructive device, or any other dangerous
weapon.

The defendant must submit to a search of the defendant's person, property, or automobile under the
defendant's control to be conducted in a reasonable manner and at a reasonable time, for the purpose of
detecting alcohol, illegal controlled substances, or contraband at the direction of the probation officer.
The defendant must inform any residents that the premises may be subject to a search.
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AO 245B (Rev 12/10) Sheet 5, Part A – Criminal Monetary Penalties                                                        Judgment - Page 4 of 4


Defendant: JEROME ECKSTEIN
Case Number: 1:12CR03182-004JB

                                                CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties in accordance with the schedule of payments.
☐ The Court hereby remits the defendant's Special Penalty Assessment; the fee is waived and no payment is required.
Totals:                                     Assessment                           Fine                         Restitution
                                              $100.00                         $46,100.55                         $0.00


                                                        SCHEDULE OF PAYMENTS
Payments shall be applied in the following order (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution; (5) interest;
(6) penalties.
Payment of the total fine and other criminal monetary penalties shall be due as follows:
The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.
A    ☒      In full immediately; or

B    ☐      $ immediately, balance due (see special instructions regarding payment of criminal monetary penalties).

Special instructions regarding the payment of criminal monetary penalties: Criminal monetary penalties are to be made
payable by cashier's check, bank or postal money order to the U.S. District Court Clerk, 333 Lomas Blvd. NW, Albuquerque,
New Mexico 87102 unless otherwise noted by the court. Payments must include defendant's name, current address, case
number and type of payment.



Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments,
except those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program, are to be made as directed by
the court, the probation officer, or the United States attorney.
